Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 1 of 14 PageID #: 592



                      IN THE UNITED STATES COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

JOHN DOE                                   §
                                           §
      Plaintiff,                           §
                                           §
v.                                         § Civil Action No. 4:19-cv-00658
                                           §             (Jury)
WILLIAM MARSH RICE                         §
UNIVERSITY d/b/a RICE                      §
UNIVERSITY, EMILY GARZA,                   §
as agent for Rice University, and          §
DONALD OSTDIEK, as agent for               §
Rice University,                           §
                                           §
      Defendants.                          §

     DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR
 DISCOVERY AND TO EXTEND DEADLINE TO AMEND COMPLAINT

      John Doe’s Motion confirms he has not stated any plausible Title IX or breach

of contract claims—particularly with respect to the individual defendants Emily

Garza and Dr. Donald Ostdiek—and that he knows it.              The weakness of his

arguments confirm his motion is meritless.

      He cites the wrong law in arguing defendants’ 12(b)(6) motions are really

summary judgment motions entitling him to discovery, and does not even address,

to say nothing of apply, the correct standard. His only justification for his additional

requests that civil procedure be turned on its head by (1) allowing him to conduct

discovery first and plead later, and (2) allowing him to wait until discovery has been

closed for 45 days before defending the plausibility of his pleadings, is that doing so
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 2 of 14 PageID #: 593



will somehow allow “an orderly disposition of [this] case…”. Mot. [Dkt. 19], p. 1.

      Doe’s motion is a transparent attempt to buy time and delay scrutiny of his

pleadings until merits discovery allows him to be “more specific,” thereby reversing

the due order of proceedings by allowing him to discover now and plead later. Id.

Doe is not entitled to any of that relief.

      Defendants have responded to Doe’s venue allegations with evidence refuting

them. They have responded to his claims with Rule 12(b)(6) motions attacking the

sufficiency of Doe’s pleadings. Having chosen to bring his claims now, Doe cannot

decide to delay defending them until later. His motion should be denied, and this

case should proceed according to established rules of procedure—including an early

determination of the plausibility of Doe’s claims.

                                    I.
                            PROCEDURAL POSTURE

      Defendants joined their pending Rule 12(b)(6) motions to dismiss with their

Rule 12(b)(3) motions to dismiss for improper venue, as was their right.1 See Compl.

[Dkt. 1], pp. 8-20 (venue motions), 20-26 (plausibility motions); see also FED. R.

CIV. P. 12(g)(1) (“A motion under this rule may be joined with any other motion

allowed by this rule.”). Doe’s venue allegations—that “parties” reside here, and


1
 Had defendants not joined their Rule 12(b)(6) motions with their Rule 12(b)(3)
motions, they would have waived their rights to file and have the plausibility of
Doe’s claims considered and decided at the earliest possible time. See FED. R. CIV.
P. 12(h)(2) (next opportunity to move to dismiss for failure to state a claim is under
Rule 12(c) after pleadings close).
                                             2
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 3 of 14 PageID #: 594



significant events giving rise to his Title IX and contract claims occurred here—are

not true. See Compl. [Dkt. 1], ¶¶ 26, 84-115. Defendants refute those allegations

with extrinsic evidence to the contrary. See, e.g., Mots. to Dismiss [Dkt. 14], Exs.

A-C (Zansitis, Ostdiek, and Garza Declarations and attached exhibits)2; see also

Lane v. Halliburton, 529 F.3d 548, 557 (5th Cir. 2008) (“on a Rule 12 (b)(3) motion,

the court may look outside of the complaint and its attachments and review extrinsic

materials, including affidavits.”); Blacklands R.R. v. Ne. Texas Rural Rail Transp.

Dist., 2019 WL 3613071, at *2 (E.D. Tex. Aug. 5, 2019) (extrinsic evidence proper

in venue disputes).

      Defendants’ Rule 12(b)(6) motions attack the sufficiency of Doe’s pleadings.

See Mots. to Dismiss, pp. 20-26. His pleadings include his complaint, any exhibits

to it, and any exhibits defendants attached to their 12(b)(6) motions that are central

to Doe’s claims and referred to in his complaint. See Collins v. Morgan Stanley

Dean Witter, 224 F.3d 496, 498–99 (5th Cir. 2000) (“Documents that a defendant

attaches to a motion to dismiss are considered part of the pleadings if they are

referred to in the plaintiff’s complaint and are central to her claims.”) (citations

omitted); Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387

(5th Cir. 2010) (in considering Rule12(b)(6) motion court is allowed to review the



2
 While the exhibits to the Zansitis, Ostdiek, and Garza declarations are correctly
described and referred to in the declarations correct order, they are not physically
numbered.
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Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 4 of 14 PageID #: 595



complaint, any attached documents, and exhibits attached to motion that are central

to the claim and referenced by the complaint).3 Because Doe’s complaint refers to

and relies on many documents but attaches none as exhibits, defendants attached

them as exhibits to their motions, making them part of Doe’s pleadings and

appropriate for review by this Court. See Exhibit 1 (chart summarizing defendants’

evidence).

                                 II.
                      ARGUMENTS AND AUTHORITIES

      Doe’s motion is an attempt to derail the ordinary course of federal litigation

without support in law or fact, and should be denied.

A.    Doe Cannot Delay Dismissing the Individuals.

      The most galling aspect of Doe’s motion is his failure to explain, or even

address, how the Rule 12(b)(6) motions of Emily Garza and Donald Ostdiek can

possibly be improper as a result of relying on exhibits outside the scope of Doe’s

pleadings. Doe has asserted Title IX and breach of contract claims exclusively. Title

IX is inapplicable to both Ms. Garza and Dr. Ostdiek as a matter of long-standing

law and United States Supreme Court precedent. Doe alleges no express, implied,

written, oral, or any other kind of contractual agreement with either of them. With




3
  Defendants anticipatorily explained the law about what Doe’s “pleadings” include
in this context in their motions. See Mots. to Dismiss, p. 2 n.2 (citing Lone Star for
identical proposition).
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Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 5 of 14 PageID #: 596



no underlying claims against them, Doe cannot obtain any relief from them. See

generally Mots. to Dismiss, pp. 22-25.

      Ignoring these arguments, but not denying them either, Doe wants this Court

to delay scrutinizing the plausibility of his pleadings against all defendants—Ms.

Garza and Dr. Ostdiek necessarily included—because they are really summary

judgment motions that rely on evidence outside the scope of his pleadings, and he

needs to complete merits discovery and amend his complaint before responding.

Mot., ¶ 6.

      Doe is not entitled to any of the relief he seeks with respect to any of the three

defendants for all of the reasons explained more fully below. But even if he was, he

certainly would not be entitled to it with respect to the individuals. It is indisputable

that Doe’s complaint does not state any individual claims against them, plausible or

otherwise, making it logically impossible for their 12(b)(6) motions to rely on

matters outside Doe’s pleadings in demonstrating he states no plausible claims

against them—there are no claims alleged against them in his complaint to attack.

The only document relevant to their motions is Doe’s complaint itself. Nothing even

arguably impedes this Court’s ability to consider their motions.

      Doe nevertheless wants them to remain defendants in this case until he

finishes discovering whether he has any claims against them. That notion is

antithetical to the fundamental tenets of federal law and procedure.


                                           5
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 6 of 14 PageID #: 597



B.    Defendants’ Motions Are Not Summary Judgment Motions.

      1.     Doe ignores defendants’ venue motions.

      Doe’s argument that defendants 12(b)(6) motions are summary judgment

motions in disguise begins by dismissing the significance of the fact that defendants

have also filed venue motions, properly supporting them with the same extrinsic

evidence he goes on to criticize. His justification, in its entirety, is that those venue

motions are “not the subject of [his discovery] motion…”. See Mot., ¶ 13.

      Doe may not want defendants’ venue motions to be a subject of his discovery

motion, but he cannot avoid the fact that they are integral to it. Many if not most of

the 471 pages of which he complains were submitted in support of the venue

motions.   That they factually overlap with his statement of his claims is the

unavoidable result of Doe equating venue with the existence (or not) of the same

generalized facts that plausibly state (or do not) his Title IX and breach of contract

claims.

      For example, Doe’s complaint alleges events giving rise to his claims include

defendants’ “stripping [Doe] of his rights to a fair and just investigation and

adjudication process,” “relying ion prejudicial assumptions,” harboring an “inherent

anti-male bias,” conducting a “procedurally flawed investigation” leading to “an

erroneous outcome,” engaged in “unlawful and discriminatory actions,” and

committing unspecified breaches of multiple, but unspecified, “express and implied

contracts.” See, e.g., Compl. [Dkt. 1], ¶¶ 5, 15, 17, 38, 69, 109-110. Proving the
                                           6
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 7 of 14 PageID #: 598



negative of Doe’s allegations—that those and all the other events or omissions

allegedly giving rise to Doe’s claims—did not occur at all or did not occur here,

required defendants to submit evidence showing where the identifiable events

described in his complaint did occur—in Houston. See id., pp. 13-16; see also Mots.

to Dismiss, Exs. A-C (Zansitis, Ostdiek, and Garza Declarations and attached

exhibits) (generally testifying regarding Roe’s complaint, and Rice’s investigation).

That evidence includes documents relating to or forming part of Rice’s investigation,

Doe’s responses, and Rice’s conclusions and actions, showing both the documents

themselves and the events addressed in them occurred in Houston, not here. See,

e.g., id., Ex. B (Ostdiek Decl.), Ex. 1 (email to Dr. Ostdiek, who has resided in

Houston since 1994 and was Associate Dean of Undergraduates and Deputy Title

IX Coordinator for Rice University during the relevant time, regarding original event

giving rise to Rice’s investigation); Ex. 2 (letter sent during the investigation from

Dr. Ostdiek in Houston to Doe in Houston); Ex. 3 (same). No law and no policy

prevents a defendant from both proving that alleged liability facts occurred

somewhere else in order to defeat a plaintiff’s improper venue choice while relying

on the same evidence, if it falls within the scope of plaintiff’s pleadings, to

demonstrate the plaintiff states no plausible claim.




                                          7
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 8 of 14 PageID #: 599



      2.     Defendants’ 12(b)(6) motions are properly limited to Doe’s
             pleadings.

      Having decided to avoid the implications of defendants’ venue motions, the

basis for Doe’s motion is that 471 pages of documents disqualifies a motion from

being made pursuant to Rule 12(b)(6):

      The grounds for Plaintiff’s Motion are that [d]efendants’ submission of
      four-hundred-seventy-one (471) pages of extrinsic documentation,
      including, but not limited to, factual and substantive declarations from
      Defendants Donald Ostdiek and Emily Garza, per se converts
      Defendants’ Rule 12(b)(6) Motion[s] to Dismiss into one[s] for
      summary judgment.

Mot., ¶ 8. Doe reaches his per se conclusion by citing the 471 pages of exhibits,

quoting Rule 12(d)’s mandate requiring conversion if matters outside the pleadings

are considered, citing two First Circuit cases, one District of Columbia Circuit case,

and one Eastern District of Louisiana case quoting or applying the general rule—in

circumstances not remotely similar to those present here4—and declaring the matter

decided. See id., ¶¶ 8-10. Conspicuously absent are any citations to binding Fifth

Circuit precedent defining what constitutes his pleadings, see Collins, 224 F.3d at

498–99 (defining pleadings to as including attachments to a defendant’s motion to

dismiss that are referred to in the plaintiff’s complaint and central to the claims), or



4
  For example, the Becnel court converted Rule 12(b)(6) motions after defendants
attached plaintiff’s deposition testimony—which could not have been referred to in
his complaint—to a reply brief. See McNealy v. Becnel, 2016 WL 6070073, at *11
(E.D. Tex. Oct. 17, 2016).

                                           8
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 9 of 14 PageID #: 600



any analysis showing any exhibit constitutes the “improper extra-pleaded material”

outside the scope of his pleadings on which he bases his motion. See Mot., ¶ 9.

      Doe proves nothing by counting exhibit pages while ignoring the defendants’

12(b)(3) venue motions to which most or all of those exhibits were properly attached

and to which defendants’ Rule 12(b)(6) motions were properly joined, concluding

instead that those 471 pages relate exclusively to defendants’ 12(b)(6) motions, and

that 471 pages of exhibits must go beyond the scope of his pleadings as a matter of

some natural volumetric law. Doe bore the burden of supporting his motion by citing

the controlling law and demonstrating through reasoned analysis his right to the

relief he is requesting. He did not carry it.

      Defendants bear no such a burden. Nevertheless, defendants’ chart, attached

as Exhibit 1 to this response, granulates the statements in the Zansitis, Ostdiek, and

Garza Declarations, as well as the exhibits attached to them, and confirms

defendants’ extrinsic evidence related to its 12(b)(6) motion falls entirely within the

Fifth Circuit’s definition of Doe’s pleadings.

      3.     Doe has no other basis to delay deciding defendants’ motions.

      Doe claims, but provides no basis for concluding, that “equity and judicial

expediency” require allowing him discovery before deciding whether he states any

viable claims to discover. See Mot., ¶ 11. Doe makes this argument on the

assumption that defendants’ 12(b)(6) motions should be converted to Rule 56


                                           9
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 10 of 14 PageID #: 601



summary judgment motions. As discussed above, because they should not, this

argument fails with that one.

      There also is no “cause,” as that principle is stated in Federal Rule of Civil

Procedure 6(b), to extend Doe’s time to respond to defendants’ Rule 12(b)(6)

motions until after discovery closes. See id., ¶ 11. Doe cites no authority that after

properly denying motions to convert Rule 12(b)(6) motions in to summary judgment

motions under Federal Rule of Civil Procedure 12(d), courts can then grant the same

relief, on the same ground, because it constitutes “good cause” for extending the

time for the plaintiff to respond to the motion under Federal Rule of Civil Procedure

6(b)(1)(A).

      Doe has no right to discover whether he has any claims before being required

to defend the claims he has already asserted, defendants have no obligation to

respond to any such discovery, and this Court has no reason to delay considering

defendants’ properly and timely submitted Rule 12(b)(6) motions.

C.    Doe Is Not Entitled to The Other Relief He Requests.

      Doe’s motion seeks more than absolution from timely responding to

defendants’ Rule 12(b)(6) motions. Charitably dubbing his motion, in its totality, as

“an attempt to seek an orderly disposition of [this case] . . .”, Doe also moves for a

scheduling order (1) “allowing discovery and an opportunity for the parties to make

their pleadings more specific” before this Court analyzes any of “the facts and causes

of action asserted,” (2) allowing him 45 days after merits discovery closes before
                                         10
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 11 of 14 PageID #: 602



having to respond to defendants’ 12(b)(6) motions, and (3) granting him leave to

freely amend his complaint as a matter of right after discovery is complete. See

Mot., p. 1 & ¶¶ 6, 9.

      Defendants will not belabor responding beyond pointing out Doe is seeking

to reverse the normal course of litigation in the federal courts by requesting an order

allowing the parties to complete discovery, allowing him to amend his complaint

using the results, and then presumably proceeding to trial on his new claims without

giving defendants an opportunity to respond—since discovery will be closed.

      Defendants respectfully suggest the relief Doe requests is fundamentally

unfair, and entirely unnecessary. Federal courts have been orderly disposing of cases

under the Federal Rules of Civil Procedure since their enactment in 1937, including

by enforcing requirements that plaintiffs assert facially plausible claims, judicially

scrutinizing the viability of claims at the outset of litigation, limiting merits

discovery to surviving claims, and allowing timely and appropriate amendments for

good cause. Those same rules remain sufficient for orderly disposing of this case.

                                  CONCLUSION

      Doe’s response to defendants’ early test of the viability of his claims—

requesting full merits discovery and the ability to amend his claims before this Court

ever sees them and before defendants can have their dismissal motions heard—is not

how litigation in federal court works. Doe chose to file a federal lawsuit against Ms.

Garza and Dr. Ostdiek—individuals with no individual liability under any of the
                                          11
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 12 of 14 PageID #: 603



claims he asserts—as well as Rice University. He filed it in this district, one of self-

evidently improper venue, requiring all three defendants to appear and defend

themselves in a forum away from their homes.

      All three have appeared as Doe demanded, filed their required motions to

transfer to a district of proper venue, and properly moved to dismiss Doe’s complaint

at the earliest opportunity. They are entitled to timely decisions.

      Defendants therefore request that Doe’s motion be denied, that all of their

pending motions be timely heard and decided, and that they be awarded all other

legal and equitable relief to which they may show themselves entitled.

DATED: January 3, 2020.

                                        Respectfully submitted,

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                                          12
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 13 of 14 PageID #: 604



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                                     13
Case 4:19-cv-00658-ALM Document 20 Filed 01/03/20 Page 14 of 14 PageID #: 605



                          CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of January, 2020, I electronically filed the
foregoing with the Clerk of the Court using the Court’s CM/ECF system, and that
all counsel of record are being served this day with a copy of the document via the
CM/ECF system.



                                        /s/ Terry D. Kernell
                                        Terry D. Kernell




                                          14
